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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY
                                        AT TRENTON

                                                          )
  BRYAN MESSENGER,                                         )
                                                           )
           Plaintiff,                                      )      Case No.: 3:17-cv-03755
                                                           )
  v.                                                       )
                                                           )
  NATIONAL BOARD OF MEDICAL                                )
  EXAMINERS                                                )
       Defendant.                                          )
                                                           )
                                                           )

 _________________________________________________________________________________

                 CERTIFIED STATEMENT OF PRO HAC VICE APPLICANT
                             MICHAEL STEVEN STEIN, ESQ.
       ________________________________________________________________________

 Comes now, Michael Steven Stein, Esq. and states the following:

          1.      I am a member in good standing of the following bars:

               a. the Commonwealth of Massachusetts. I was admitted in 2007. The roll of bar

                  members is maintained by Clerk Maura S. Doyle, Supreme Judicial Court for Suffolk

                  County, John Adams Courthouse, First Floor, One Pemberton Square – Suite 1300,

                  Boston, MA 02108-1707.

               b. the District of Columbia. I was admitted in 2010. The roll of bar members is

                  maintained at the D.C. Court of Appeals, Committee on Admissions/CGS, 430 E

                  Street NW, Room 123, Washington, DC 20001.

               c. the State of New York. I was admitted in 2012. The roll of bar members is

                  maintained by the Clerk’s Office, Appellate Division, Fourth Department, M.
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               Dolores Denman Courthouse, 50 East Avenue, Suite 200, Rochester, NY 14604.

           d. the U.S. District Court for Western District of New York. I was admitted in 2015.

               The roll of bar members is maintained by the Clerk of Court, Western District of

               New York, U.S. District Court, 100 State Street, Room 2120, Rochester, NY

               14614.

           e. the U.S. District Court for Northern District of New York. I was admitted in

               2016. The roll of bar members is maintained at Clerk’s Office, U.S. District

               Court, Northern District of New York, 100 S. Clinton Street, Syracuse, NY

               13261.

           f. the U.S. District Court for the of Colorado. I was admitted in 2016. The roll of

               bar members is maintained at Clerk’s Office, Alfred A. Arraj United States

               Courthouse, Room A105, 901 19th Street, Denver, CO 80294.

           g. the U.S. District Court for District of North Dakota. I was admitted in 2016. The

               roll of bar members is maintained at Clerk’s Office, United States District Court,

               655 First Avenue North, Suite 130, Fargo, ND 58102.

           h. the U.S. Court of Appeals for the Seventh Circuit. I was admitted in 2008. The

               roll of bar members is maintained at Clerk’s Office, United States Court of

               Appeals for the Seventh Circuit, Everett McKinley Dirksen United States

               Courthouse, 219 S. Dearborn Street, Room 2722, Chicago, IL 60604.

    2. No disciplinary proceedings are pending against me in any jurisdiction and no discipline

        has previously been imposed on me in any jurisdiction.

 Dated: June 2, 2017                                Respectfully submitted,


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